









Dismissed and Opinion filed August 29, 2002









Dismissed and Opinion filed August 29, 2002.




 
  
  
  &nbsp;
  
  
 




&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-01-01057-CR

____________

&nbsp;

EDMUND LEE PARKER, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On
Appeal from the 180th District Court

Harris County, Texas

Trial
Court Cause No. 865,972

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O
P I N I O N

A written request to withdraw the notice of appeal,
personally signed by appellant, has been filed with this Court.&nbsp; See Tex.
R. App. P. 42.2.&nbsp; Because this
Court has not delivered an opinion, we grant appellant=s request.

Accordingly, we order the appeal dismissed.&nbsp; We direct the Clerk of the Court to issue the
mandate of the Court immediately.

PER CURIAM

&nbsp;

Judgment rendered
and Opinion filed August 29, 2002.

Panel consists of
Chief Justice Brister and Justices Hudson and Fowler.

Do not publish ‑
Tex. R. App. P. 47.3(b).





